      Case 4:24-cr-00001-Y Document 38 Filed 05/14/24          Page 1 of 4 PageID 560


                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

UNITED STATES OF AMERICA
                                                     CRIMINAL NO. 4:24-CR-001-Y
v.

JOHN ANTHONY CASTRO (01)

                              GOVERNMENT WITNESS LIST

          The United States of America, by and through its counsel, respectfully files this,

the Government’s Witness List, in the above captioned case.1

       No.             Witness                      Subject Matter of Testimony
    Background Witnesses
                                           Mr. Gudorf will testify about his employment
                         Ted Gudorf        of Castro, Castro’s qualifications, and Castro’s
         1.
                         Fact Witness      behavior.

    Undercover agent
                                       Special Agent Jackson will testify about her
                                       interaction and communications with the
                     Angela Johnson    defendant and will sponsor the recordings
         2.       aka “Angela Jackson” between her and Castro. She will testify about
                       Fact Witness    the falsities contained in the tax filing that
                                       Castro filed on behalf of Jackson. Her
                                       testimony relates to Count 1.
    Taxpayer - Victims
                                           Ms. Rivera will testify about her interactions
                                           and communications with the defendant and
                         Linda Rivera      the defendant’s staff, the filing of her federal
         3.
                         Fact Witness      income taxes through Castro & Co. and the
                                           falsities therein. Her testimony relates to
                                           Counts 6 through 8.




1
     The government can provide the contact information for these witnesses in
communications with defense counsel and has not listed it in this public document.

Government Witness List – Page 1 of 4
   Case 4:24-cr-00001-Y Document 38 Filed 05/14/24         Page 2 of 4 PageID 561


                                        Mr. Ragsdale will testify about his interactions
                                        and communications with the defendant and
                 Randolph Ragsdale      the defendant’s staff, the filing of his and his
      4.
                    Fact Witness        wife’s federal income taxes through Castro &
                                        Co. and the falsities therein. His testimony
                                        relates to Counts 12 through 14.
                                        Mr. Meyer will testify about his interactions
                                        and communications with the defendant and
                      John Meyer        the defendant’s staff, the filing of his and his
      5.
                      Fact Witness      wife’s federal income taxes through Castro &
                                        Co. and the falsities therein. His testimony
                                        relates to Count 21.
                                        Mr. Putica will testify about his interactions
                                        and communications with the defendant and
                    Michael Putica      the defendant’s staff, the filing of his and his
     16.
                     Fact Witness       wife’s federal income taxes through Castro &
                                        Co. and the falsities therein. His testimony
                                        relates to Count 26.
                                        Mr. Natt will testify about his interactions and
                                        communications with the defendant and the
                     Michael Natt       defendant’s staff, the filing of his and his
      7.
                     Fact Witness       wife’s federal income taxes through Castro &
                                        Co. and the falsities therein. His testimony
                                        relates to Count 27.
                                        Mr. Lampkin will testify about his interactions
                                        and communications with the defendant and
                   Ahmad Lampkin        the defendant’s staff, the filing of his federal
      8.
                     Fact Witness       income taxes through Castro & Co. and the
                                        falsities therein. His testimony relates to
                                        Counts 28 through 29.
 Employees for Castro
                                   Ms. Humphreys will testify about her
                                   employment with Castro & Co. and the way in
                Kasondra Humphreys which the office operated, taxes for clients
      9.
                    Fact Witness   were drafted, processed, reviewed, and filed
                                   and her communications with Castro.

                                        Mrs. Hernandez will testify about her
                                        employment with Castro & Co. and the way in
                                        which the office operated, taxes for clients
                   Katie Hernandez
     10.                                were drafted, processed, reviewed, and filed
                     Fact Witness
                                        and her communications with Castro.




Government Witness List – Page 2 of 4
      Case 4:24-cr-00001-Y Document 38 Filed 05/14/24                   Page 3 of 4 PageID 562


    Case Agent
                                                 Agent Wieborg is the revenue agent assigned
                                                 to this matter and performed an analysis of the
                      Adam Wieborg
        11.                                      tax filings submitted by Castro, the positions
                       Fact Witness
                                                 he has taken, and will testify about IRS
                                                 regulations and law.
                                                 Special Agent Ma was the case agent and will
                                                 testify about the investigation and evidence
                         Tuan Ma                 that he recovered, including email
        12.
                        Fact Witness             communications sent by Castro to the
                                                 government and public statement made by
                                                 Castro.
    Potential Additional Witnesses
                                                 If called, Agent Dunford, who is an
                                                 experienced revenue agent, will discuss IRS
                                                 regulations and law. She will not provide
                       Amy Dunford               opinions. The necessity of her testimony will
        13.
                        Fact Witness             be determined by defense arguments. In
                                                 addition, she may be called as a rebuttal
                                                 witness, following Castro’s anticipated
                                                 testimony.
                                                 If called, Dr. McGovern, who is a long-time
                                                 practitioner and academic, will discuss IRS
                                                 regulations and law. He will not provide
                   Dr. Bruce McGovern            opinions. The necessity of his testimony will
        14
                       Fact Witness              be determined by defense arguments. In
                                                 addition, he may be called as a rebuttal
                                                 witness, following Castro’s anticipated
                                                 testimony.
2




2
        The government is not listing multiple witnesses, including victim/taxpayers, such as Paul Clayton,
Christian Karavangelos, Crystal Wells, Brian Quigley, Javier Sola, Joseph Zilinski, Federico Turatti, Fabio
Ramos, and Frances Fifis-Boggs, whose testimony has been stipulated to in Dkt. No. 36. Further, the
government is not listing multiple evidence custodian witnesses, as the parties have stipulated to the
authenticity of the Government Exhibits. (See Dkt. No. 36.)

Government Witness List – Page 3 of 4
   Case 4:24-cr-00001-Y Document 38 Filed 05/14/24        Page 4 of 4 PageID 563




                                        Respectfully submitted,

                                        LEIGHA SIMONTON
                                        UNITED STATES ATTORNEY
                                        /s/ P.J. Meitl
                                        P.J. MEITL
                                        Assistant United States Attorney
                                        D.C. Bar No. 502391
                                        801 Cherry Street, 17th Floor
                                        Fort Worth, Texas 76102
                                        Telephone: 214.659.8680
                                        Facsimile: 214.659.8809
                                        Email: philip.meitl@usdoj.gov




Government Witness List – Page 4 of 4
